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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                             :   CR No. 1:23-cr-00123-SAG
                                                      :
 v.                                                   :
                                                      :
 ROBERT KROP,                                         :
          Defendant.                                  :
                                                      :
      :      :        :      :       :      :         :     :      :       :      :       :       :

             MOTION FOR LEAVE TO ACCEPT LENGTHY FILING, NAMELY,
                     DEFENDANT KROP’S OMNIBUS MOTION

COMES NOW the defendant, ROBERT KROP, by and through his attorneys, The Cox Law
Center, LLC, hereby moves this honorable Court for the following immediate relief:
      1. Defendant Mr. Krop has filed an “omnibus” motion on 19 separate grounds, while
          reserving the right to amend his motion(s) and/or to file additional motions in this matter.
      2. Local Rules requires motions or pleadings to generally not exceed 35 pages not including
          exhibits. LRs 105, 207.
      3. Defendant Mr. Krop’s Omnibus Motion includes 19 motions in his defense submitted for
          a timely scheduling and review by the Court, and so to preserve his speedy trial and fair
          trial rights.
      4. The motions are substantive and include argument, and no more than the maximum of five
          exhibits as allowed under the local rules without indexing exhibits.
      5. Codefendant’s counsel has now filed a motion to exclude certain dates through June 17,
          2023 from the speedy trial federal law mandate, and a motion to sever trials of defendants.
      6. Defendant Mr. Krop attaches hereto his Omnibus Motion and exhibits, as his Exhibit A
          and requests the Court order the Clerk to file it in the docket for the defendant Mr. Krop
          and list its filing date as May 31, 2023.
WHEREFORE, Mr. Krop respectfully requests this Court order acceptance of the filing of his
Omnibus Motion in his defense with exhibits.

                                                 Respectfully submitted,
                                                 ___/s/_____________________________________
                                                 Daniel L. Cox
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                                           THE COX LAW CENTER, LLC
                                           P.O. Box 545
                                           Emmitsburg, MD 21727
                                           Telephone: 410-330-3551 (mobile)
                                           Telephone: 410-254-7000 (office)
                                           Facsimile: 410-254-7220
                                           District of Md Attorney Id: 28245
                                           Attorneys for Plaintiffs


                               CERTIFICATE OF SERVICE

I HEREBY CERTIFY, that on May 31, 2023, a copy of the foregoing motion was filed via ECF,
which caused copies to be sent to all parties of record.

                                           ________/s/___________________
                                           Daniel L. Cox
